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                            UNITED STATES DISTRICT COURT

                                 DISTRICT OF KANSAS


In re EPIPEN (EPINEPHRINE INJECTION,     )   Civil Action No. 2:17-md-02785-DDC-TJJ
USP) MARKETING, SALES PRACTICES          )   (MDL No: 2785)
AND ANTITRUST LITIGATION                 )
                                         )   [AMENDED] CLASS PLAINTIFFS’
                                         )   MOTION TO COMPEL COMPLIANCE
This Document Relates To:                )   WITH SUBPOENA DIRECTED TO NON-
                                         )   PARTY HUMANA, INC.
             ALL ACTIONS.                )
                                         )




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         Class Plaintiffs (“Plaintiffs”), individually and on behalf of the putative class, by and through

their undersigned attorneys, hereby move this Court pursuant to Rules 26 and 45 of the Federal

Rules of Civil Procedure for an Order compelling compliance with the Subpoena directed to and

lawfully served upon non-party Humana, Inc. (“Humana”). 1 The Memorandum in Support of this

Motion is below and incorporated by reference.

I.       STATEMENT OF MATTERS BEFORE THE COURT

         Plaintiffs’ Amended Motion to Compel Compliance with Subpoena Directed to Non-Party

Humana (the “Motion”) presents the following legal issues: 2

                 (a)     Whether Humana’s boilerplate and conclusory objections and unilateral

narrowing of the documents responsive to the Subpoena, are improper and should be overruled?

                 (b)     Whether the Court should compel Humana to immediately produce all

documents responsive to Plaintiffs’ Subpoena?

II.      MEMORANDUM IN SUPPORT OF MOTION TO COMPEL

         This is an antitrust, civil RICO, and consumer-protection class action brought on behalf of

those who purchased or used the EpiPen, an epinephrine auto-injector (“EAI”). The Complaint’s

allegations give rise to a number of relevant topics for discovery, including the EAI market, EAI

device coverage and formulary placement or exclusion, usage, claims, consumer costs, demand and

1
    All references to “Ex.” and “Exs.” are to the exhibits attached to the Declaration of Brian O.
O’Mara (“O’Mara Decl.”), filed concurrently herewith. Pursuant to D. Kan. Rule 37.1(a), a copy of
the Rule 45 Subpoena (“Subpoena”) is attached to the O’Mara Decl. Ex. 1. Pursuant to D. Kan.
Rule 37.2, Plaintiffs’ counsel certifies that they have met and conferred with Humana’s counsel
concerning the Subpoena and Humana’s failure to produce documents responsive to the Subpoena.
Plaintiffs are entitled to the requested discovery. See Ex. 3, Humana, Inc.’s Objections and
Responses to Class Plaintiffs’ Subpoena to Produce Documents, Information, or Objects. This
Motion is timely, as on February 2, 2018, this Court entered an order extending that D. Kan. Rule
37.1(b)’s 30-day deadline until after the February 15, 2018 status conference. See ECF No. 137,
Order. During the conference the Court issued an additional extension until February 23, 2018.
2
      This amendment is submitted to conform to the page limitations in ECF No. 226.

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competitive conditions, and EAI-related payments and costs along the distribution and

pharmaceutical supply chain. See, e.g., ECF No. 60, ¶¶152-198. Relevant discovery subjects also

include documents and information related to EAI manufacturer marketing, educational and

presentation materials, concerning their and competitor EAI devices as it is alleged that Mylan

engaged in a massive misinformation campaign concerning EpiPen and competitor EAIs directed at

the healthcare industry and consumers. See, e.g., ¶¶629-635.

        On December 11, 2017, Plaintiffs served Humana with the Subpoena seeking the production

of documents relevant to this action. Thereafter, on December 22, 2017, Humana requested and the

parties reached agreement on an extension of Humana’s response and production dates. See Ex. 4.

In doing so, Plaintiffs made clear that “[a]s long as there is a commitment to begin producing

responsive materials by January 31, we are fine with the extension.” Id. Humana agreed to the

extension on that condition. Id. (“Great.”). Two months after Humana was served with the

Subpoena, a month after serving its responses and objections confirming that it would produce

responsive materials, and several weeks after Humana was to begin producing materials according to

the parties’ extension agreement, Humana has still not produced a single document. Humana has

also ignored Plaintiffs’ requests to identify a new date by which Humana would commit to begin

producing documents. See, e.g., Exs. 5, 11; see also Ex. 6.

        There is no dispute that Humana possesses relevant, responsive information. 3 And in

response to 12 of the Subpoena’s 14 requests indeed Humana commits that it “will produce”




3
       E.g., Humana Inc., Annual Report (Form 10-K) at 31 (Feb. 17, 2017), https://humana.gcs-
web.com/static-files/1d2dc7c9-7d43-4938-9b94-4d090c4deaf9 (“Annual Report”). (Humana has
“contractual relationships with pharmaceutical manufacturers or wholesalers that provide us with
purchase discounts and volume rebates on certain prescription drugs dispensed through our mail-
order and specialty pharmacies.”).

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responsive information. Ex. 3. Humana, however, has not produced any materials and refuses to

commit to a date by which it will even begin producing documents.

        Humana also asserts conclusory and conditional objections, and unilaterally narrows certain

topics. For example, Humana objects to Request No. 7 which seeks “documents concerning any

agreement or understandings . . . concerning . . . inclusion on any formulary or preferred drug writ”

and agrees to produce, “[s]ubject to [its] objections,” only “written agreements,” excluding any

communications or deliberative documents relating to Human’s formulary placement. Ex. 3. This is

not proper. The requested information is relevant, Humana has not demonstrated that production

would be unduly burdensome, and there is no basis for Humana to artificially limit its production

simply because it would rather not collect and produce certain categories of relevant documents.

III.    LAW AND ARGUMENT

        A.     This Court Has Jurisdiction to Resolve This Dispute

        As the MDL transferee court, this Court has jurisdiction to decide the issues raised in this

Motion. Indeed, “[a] judge presiding over an MDL case therefore may compel production by an

extra-district nonparty; enforce, modify, or quash a subpoena directed to an extra-district nonparty;

and hold an extra-district nonparty deponent in contempt, notwithstanding the nonparty’s physical

situs in a foreign district where discovery is being conducted.” United States ex rel. Pogue v.

Diabetes Treatment Ctrs. of Am., Inc., 444 F.3d 462, 468-69 (6th Cir. 2006); 4 see also In re Am.

Med. Sys., MDL No. 2325, 2017 U.S. Dist. LEXIS 41812, at *3-*4 (S.D. W. Va. Mar. 21, 2017)

(“the court presiding over a MDL ‘may compel production by an extra-district nonparty; enforce,

modify, or quash a subpoena directed to an extra-district nonparty; and hold an extra-district

nonparty deponent in contempt, notwithstanding the nonparty’s physical situs in a foreign district

4
   The place for compliance is Louisville, Kentucky within the Sixth Circuit, where Humana is
headquartered.

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where discovery is being conducted’”); 5 In re C.R. Bard, Inc. Pelvic Repair Sys. Prod. Liab. Litig.,

MDL No. 2187, 2014 WL 1660386, at *2 n.1 (S.D. W. Va. Apr. 22, 2014). 6 Here, while Humana

resides outside of this district, 7 this Court has jurisdiction to resolve this discovery dispute. Indeed,

“a transferee judge can handle all types of pretrial matters that otherwise would have been handled

by the transferor court.” In re Motor Fuel Temperature Sales Practices Litig. v. Alon USA, Inc.,

MDL No. 1840, 2013 U.S. Dist. LEXIS 64639, at *61-*63 (D. Kan. May 6, 2013).

        B.      Plaintiffs’ Requests Seek Materials Relevant to this Case

        “It is well settled . . . that the scope of discovery under a subpoena is the same as the scope of

discovery under Rules 26(b) and 34.” Goodyear Tire & Rubber Co. v. Kirk’s Tire & Auto

Servicenter of Haverstraw, Inc., 211 F.R.D. 658, 662 (D. Kan. 2003). Certain Underwriters at

Lloyd’s, London v. Morrow, No. 1:16-CV-00180-GNS, 2017 U.S. Dist. LEXIS 166842, at *7-*8

(W.D. Ky. Oct. 10, 2017) (“scope of discovery under a subpoena is the same as the scope of

discovery under Rule 26”). Rule 26 permits “discovery regarding any nonprivileged matter that is

relevant to any party’s claim or defense.” Fed. R. Civ. P. 26(b)(1). “Relevance is broadly construed

and the court should permit a request for discovery unless ‘it is clear that the information sought can

have no possible bearing’ on the claim or defense of a party.” Gilbert v. Rare Moon Media, LLC,

No. 15-mc-217-CM, 2016 WL 141635, at *4 (D. Kan. Jan. 12, 2016) (emphasis in original).



5
    Citations and internal quotations marks omitted, and emphasis added unless otherwise noted.
6
    See also Ex. 8, In re Niaspan Antitrust Litig., No. 13-md-2460, Order on Central Enforcement of
Subpoenas (E.D. Pa. June 9, 2015); Ex. 9, In re New England Compounding Pharmacy, Inc. Prods.
Liab. Litig., No. 1:13-md-02419-FDS, Order on Central Enforcement of Subpoenas (D. Mass. June
21, 2013); Ex. 10, In re Liquid Aluminum Sulfate Antitrust Litig., No. 16-md-2687 (JLL) (JAD),
Order on Central Enforcement of Subpoenas (D.N.J. Sept. 5, 2017).
7
   Humana does have a corporate office in Overland Park, Kansas. See Humana Overland Park
Location, https://www.humana.com/about/marketpoint-sales-office-locations/kansas/7311-west-
132nd-street-overland-park (last visited Feb. 23, 2018).

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        These standards cannot be satisfied by a blanket refusal to produce responsive documents or

an assertion of boilerplate and conclusory objections. “A party opposing a discovery request cannot

make conclusory allegations that a request is irrelevant, immaterial, unduly burdensome, or overly

broad. Instead, the party resisting discovery must show specifically how each discovery request is

irrelevant, immaterial, unduly burdensome or overly broad.” Gheesling v. Chater, 162 F.R.D. 649,

650 (D. Kan. 1995); see also Morrow, 2017 U.S. Dist. LEXIS 166842, at *8 (production compelled

where resisting party failed to “offer an explanation of how the information sought in the subpoena

lacks relevance to the case” and rejecting “sweeping generalities” about volume and relevance of

requested documents).

        C.     Humana Should Be Compelled to Immediately Produce Responsive
               Materials It Has Agreed to Produce

               1.       Rebate and Formulary Documents, Agreements and
                        Communications; Consideration Paid or Received

        Plaintiffs seek: (i) rebate and formulary information, including agreements, communications

and other deliberative materials relating to those agreements; and (ii) documents concerning

consideration paid or received related to the marketing, distribution, or sale of any EAI Drug Device.

See Ex. 1, Req. No. 1 (documents regarding rebate or incentive agreements); id., Req. No. 4

(consideration related to marketing, distribution or sale of EAI Drug Devices); id., Req. No. 7

(documents concerning agreements with EAI Drug Device Manufacturers regarding sale,

reimbursement, formulary placement, etc.); and id., Req. No. 14 (decision or consideration to

include or exclude any EAI Drug Device from formularies). These materials are relevant to this

action and Humana unquestionably possesses responsive information. 8


8
    Annual Report at 31 (“We have contractual relationships with pharmaceutical manufacturers or
wholesalers that provide us with purchase discounts and volume rebates on certain prescription drugs
dispensed through our mail-order and specialty pharmacies.”); id. at 131 (“Our pharmacy operations,
which are responsible for designing pharmacy benefits, including defining member co-share
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        On January 17, 2018, Humana responded that it “will produce” responsive documents. Ex. 3.

Despite this commitment, however, no documents have been produced. There is no dispute that

these materials are relevant and Humana has not shown that production would be unduly

burdensome. See, e.g., XPO Logistics Freight, Inc. v. YRC, Inc., No. 16-mc-224-CM-TJJ, 2016 U.S.

Dist. LEXIS 165323, at *10-*11 (D. Kan. Nov. 30, 2016) (“The resisting party cannot simply stand

on a conclusory statement that the requested discovery is irrelevant, but instead must either

demonstrate that the requested discovery does not come within the broad scope of relevance defined

in Rule 26(b)(1), or that it is of such marginal relevance that the potential harm caused by the

discovery would outweigh the presumption in favor of broad disclosure.”). Humana should be

compelled to produce documents responsive to Request Nos. 1, 4, 7 and 14.

        With respect to the documents relating to the “consideration and negotiation of Incentives

from, Mylan (for the Epipen)” (Ex. 1, Req. No. 1) and documents concerning Humana’s “decision

or consideration to include, place, or otherwise exclude any EAI Drug Device on any PBM,

Medicaid, or other formulary” (id., Req. No. 14), Humana identified what it refers to as its

Pharmaceutical and Therapeutic (“P&T”) Committee as the group that would possess responsive

materials. The relevance of these materials is obvious: documents concerning or memorializing

Humana’s deliberative process and considerations concerning rebates and whether or not (and why)

certain EAI Drug will be included or excluded from Humana’s formulary. Humana refuses to

produce these materials and claims that the materials are competitively sensitive. These documents

are relevant, Humana has not articulated an undue burden in producing these documents, and the




responsibilities, determining formulary listings, contracting with retail pharmacies, confirming
member eligibility, reviewing drug utilization, and processing claims, act as a principal in the
arrangement on behalf of members in our other segments.”).

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protective order provides heightened levels of protection to address Mylan’s and Sanofi’s own

similar sensitivity concerns. See ECF No. 135. Production should be compelled.

        With respect to rebate agreements between Humana and Mylan, despite agreeing to “produce

written agreements with Mylan . . . relating to Incentives,” Humana refuses to do so claiming that,

following conversations with Mylan’s counsel, such agreements should just be obtained from Mylan.

Ex. 3. “[T]here is no general rule that plaintiffs cannot seek nonparty discovery of documents likely

to be in defendants’ possession.” Viacom Int’l, Inc. v. YouTube, Inc., No. C 08-80129 SI, 2008 U.S.

Dist. LEXIS 79777, at *10 (N.D. Cal. Aug. 18, 2008); In re Honeywell Int’l, Inc. Sec. Litig., 230

F.R.D. 293, 301 (S.D.N.Y. 2003) (“fact that the same documents may be available from [defendant]

is not persuasive”). Indeed, Humana’s documents and agreement “may differ slightly from

[Mylan’s] copies [and] could include handwritten notes” or other additional information.

Honeywell, 230 F.R.D. at 301; see also Ex. 5. The rebate agreements should be produced. 9

               2.      Documents Concerning Market and Competitive Analysis, EAI
                       Drug Device Cost, Demand, and Projections and Forecasts

        Plaintiffs seek information concerning market and competitive analyses, EAI Drug Device

cost and demand, and projections and forecasting materials. See Ex. 1, (Req. Nos. 6, 10 and 13).

Humana states that it “will produce” documents, see Ex. 3, but to date, no such records have been

produced and Humana has refused to identify a date by which these materials will be produced.

Humana should be compelled to produce documents responsive to Request Nos. 6, 10, and 13.

9
    Humana revealed that following communications with Mylan’s counsel concerning Plaintiffs’
Subpoena it elected not to produce agreements between Humana and Mylan. Exs. 5 & 6. Humana
should be compelled to produce communications with Mylan’s counsel concerning the Subpoena.
These communications, which Humana’s counsel confirmed pertained to Humana’s rebate
agreements with Mylan, are responsive to the Subpoena. See, e.g., Ex. 1, Req. No. 1 (documents and
communications regarding incentive (i.e., rebate) agreements with Mylan); id., Req. No. 7
(documents “concerning any agreement or understanding” between Humana and Mylan “concerning
the (a) sale, (b) marketing, (c) purchase, (d) reimbursement, or (e) inclusion on any formulary or
preferred drug list”). The Court should order these communications be produced.

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               3.      Data and Other Consumer Information

        Request No. 8 seeks materials “sufficient to identify each customer, consumer, distributor,

reseller, or retailer with whom You have communicated or transacted business relating to any EAI

Drug Device.” Ex. 1. Humana stated that it “will produce data related to member claims for

reimbursement for the EpiPen, Auvi-Q, or Adrenaclick EAI Drug Devices….” Ex. 3. The parties

had a number of discussions concerning the data and on February 8, 2018, Plaintiffs sent over a set

of narrow list of data fields to assist in the data production. See Ex. 7. Despite asking for

confirmation from Humana that it will produce responsive data using the data fields Plaintiffs

identified, Humana has not responded or committed to a production schedule. Ex. 5.

               4.      Responsive Government and Regulatory Materials

        Request No. 2 seeks documents “provided by You or on Your behalf to the United States

Department of Justice or any other local, state, or federal governmental or regulatory agency

concerning any inquiry or investigation of any EAI Drug Device or the market for EAI Drug

Devices.” 10 Ex. 1. Humana responded that it “will produce” these documents. Ex. 3. On February

7, 2018, Humana indicated that it is still trying to determine whether responsive documents exist and

has since failed to identify whether these materials exist and, if so, when Humana will produce them.

These government and regulatory materials are relevant and Humana has not shown that producing

these materials would be unduly burdensome. Humana should produce these documents.

               5.      Documents Sufficient to Identify EAI-Related Personnel

        Request No. 9 seeks documents “sufficient to identify … personnel … or other groups with

responsibility concerning EAI Drug Devices.” Ex. 1. Humana states that it “will produce




10
   Similarly, Request No. 3 seeks transcripts of deposition or interview testimony. Humana has
committed to producing these materials, but no documents have been produced.

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documents or narrative responses,” (Ex. 3), but no documents have been produced. Humana should

be compelled to produce documents responsive to Request No. 9.

               6.      Documents Related to Promotional and Educational Materials

        Request No. 11 seeks documents “concerning any presentation, educational material, or

marketing material provided to [Humana] by any EAI Drug Device manufacturer, seller, wholesaler,

distributor, or retailer related to any EAI Drug Device.” Ex. 1. Humana stated that it “will produce

presentation, educational, or marketing materials.” Ex. 3. Humana, however, has not produced any

responsive documents. Humana should produce documents responsive to Request No. 11.

               7.      Communications and Other Responsive Documents

        Humana refuses to produce communications or other related materials limiting its production

to a category of documents narrower than what is requested. See Ex. 3, Resp. to Req. Nos. 1, 4, 6-8,

10-11, 13-14. For example, Request No. 1 seeks “Documents and Communications” concerning

“consideration and negotiation of Incentives . . . .” Ex. 1. Humana agrees to produce the agreements,

but not the communications or other documents related to those agreements. See also Req. No. 4

(seeking “documents” but responding that “Humana will produce any written agreements”); id., Req.

No. 6 (seeking “documents” but responding that “Humana will produce responsive, non-privileged

internal analyses or reports”), id., Req. No. 7 (seeking “documents” but responding that “Humana

will produce any written agreements”); and id., Req. No. 11 (seeking “documents” but responding

that “Humana will produce presentation, educational, or marketing materials”); see also id., Resp. to

Req. Nos. 8, 10, 13 (agreeing to produce only certain documents responsive to Request Nos. 1, 6

and/or 7). Humana’s deliberations and communications concerning these agreements, reports and

analyses are relevant and should be produced.




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               8.      Conditional and Conclusory Objections Should Be Overruled

        Each of Humana’s discovery responses states: “Subject to these objections and its General

Objections, Humana will produce . . . .” See, e.g., Ex. 3, Resp. to Req. No. 14. “[O]bjections

followed by an answer ‘preserve nothing and serve only to waste the time and resources of both the

Parties and the Court.’” U, Inc. v. ShipMate, Inc., No. 2:14-cv-2287-JTM-TJJ, 2015 U.S. Dist.

LEXIS 79694, at *10-*11 (D. Kan. June 19, 2015) (“ShipMate”). Humana’s responses are also

“generic boilerplate objections with no rational substantive basis.” Id. at *10. See, e.g., Ex. 3, Resp.

to Reqs. Nos. 1-2, 5-9 & Gen. Objs. No. 8-9. These boilerplate objections lack specificity, and fail

to show why the requests are improper. ShipMate, 2015 U.S. Dist. LEXIS 79694, at *10-*11. “A

discovery response that states responsive documents, if any, will be produced after a search, subject

to its objections is not an option under the Rule.” Cadence Educ., LLC v. Vore, No. 17-cv-2092-

JTM-TJJ, 2018 U.S. Dist. LEXIS 17880, at *11 (D. Kan. Feb. 2, 2018).

        Humana’s response also does not state whether certain responsive documents exist. Ex. 3

(Resp. to Req. Nos. 5 & 12). Humana must “reveal or identify what responsive documents do or do

not exist.” See ShipMate, 2015 U.S. Dist. LEXIS 79694, at *11. Humana should be compelled to

produce documents responsive to Request Nos. 5 and 12, and its conclusory objections, including

those in response to Request Nos. 1-2, 5-9 and 12 and its General Objections 8 and 9 should be

overruled. See Ex. 3, Resp. to Req. Nos. 1-2, 5-9 & Gen. Objs. Nos. 8-9.

IV.     CONCLUSION AND RELIEF REQUESTED

        For the foregoing reasons, Humana should be compelled to produce responsive all

documents.

DATED: February 26, 2018                          Respectfully submitted,

                                                                  s/ Brian O. O’Mara
                                                                 BRIAN O. O’MARA

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                                   CERTIFICATE OF SERVICE

        I hereby certify that on February 26, 2018, I electronically filed the foregoing with the Clerk

of the Court by using the CM/ECF system, which will send a notice of electronic filing to parties and

attorneys who are filing users.

        I also hereby certify that on February 26 2018, I served: Class Plaintiffs’ Motion to Compel

Compliance with Subpoena Directed to Non-Party Humana, Inc.

Humana, Inc.:
NAME                           FIRM                                EMAIL
Ursula Taylor                  Butler Rubin Saltarelli & Boyd      UTaylor@butlerrubin.com
                               LLP

        I certify under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on February 26, 2018.



                                                                s/ Brian O. O’Mara
                                                               BRIAN O. O’MARA

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